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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                  Plaintiffs,         Case No. 1:20-cv-03010-APM

 v.                                                   HON. AMIT P. MEHTA
 Google LLC,

                                  Defendant.


 State of Colorado, et al.,

                                  Plaintiffs,         Case No. 1:20-cv-03715-APM

 v.                                                   HON. AMIT P. MEHTA
 Google LLC,

                                  Defendant.




                                                ORDER

       It is hereby ORDERED that the Parties will make the following disclosures related to the

schedule of witnesses at trial:

       1.      Four weeks before trial (i.e., on August 15, 2023), Plaintiffs shall provide to

Google their proposed order for all witnesses they may call live at trial in their cases-in-chief.

The disclosure shall also include the week in which the Plaintiffs expect to call the witness (e.g.,

the week of September 12, 2023), and the estimated time for their direct examination. The State

Plaintiffs shall identify which witnesses on United States Plaintiffs’ disclosure it expects to

conduct a direct examination of and the estimated time for the examination.
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        2.      Within one week of receiving Plaintiffs’ disclosure (i.e., by August 22, 2023),

Google shall inform Plaintiffs of any presently known immovable conflicts regarding the

anticipated scheduling of current Google employees or contractors, and shall identify which

witnesses on Plaintiffs’ disclosure it expects to conduct a direct examination of and the estimated

time for the examination. If Google identifies a conflict for any employee or contractor in the

week Plaintiffs expect to call the witness, Google will also provide information on any

immovable conflicts for the week before and the week after that week.

        3.      One week before trial (i.e., on September 5, 2023), Google shall provide to

Plaintiffs their proposed order for all witnesses they may call live at trial in their case in chief.

The disclosure shall also include the week in which Google expects to call the witness, and the

estimated time for the direct examination.

        4.      Beginning on September 6, 2023 and continuing through the end of trial, unless

otherwise mutually agreed, no later than 7 pm ET on the preceding Wednesday, the presenting

Party for the coming week of trial will confirm the witnesses that Party expects to call, the order

they expect to call them in, the estimated time for their direct examination, and the day that they

expect to call them.

        a.      If the presenting Party expects to rest during the coming week, then the next

                presenting Party will share the same information for the remainder of the week no

                later than 7 pm ET on the preceding Thursday.

        b.      If a non-presenting Party intends to conduct a direct examination during the time

                for cross-examination, the non-presenting Party will confirm that no later than 24

                hours after receipt of the presenting Party’s list of witnesses for the upcoming

                week, along with the estimated time for the examination.
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      c.     All parties recognize that changes may occur and will work together to

             accommodate any changes that may arise. The presenting Party will update all

             Parties, as needed and at least daily, about any changes or updates, including

             additions or subtractions, to the weekly schedule.

      d.     The weekly schedule will include any plans to present designated deposition

             testimony to the Court by video or by reading the testimony into the record.

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Dated: July ___, 2023                              ________________________________
                                                              Amit P. Mehta
                                                     Unites States District Court Judge
